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In the United States District Court
For the Northern District of Ohio
Western Division

UNITED STATES OF AMERICA, CASE NO.:

)
Plaintiff, 4 224 CV | Le '
v. ) JUDGE ZOUHARY
SHAFFER PHARMACY, INC., UNDER SEAL
)

Defendant.

DECLARATION OF CARL GAINOR
I, Carl Gainor, declare under penalty of perjury that the following statements are true and
correct:
Professional and Academic Experience
1. I am currently an assistant professor of pharmacy at the University of Pittsburgh
and have been since 1977. I am also an adjunct professor of pharmacy law at Belmont University
in Nashville, Tennessee.
2. I am currently licensed to practice pharmacy in Pennsylvania and North Carolina.
3. I completed pre-pharmacy studies at the University of Michigan in 1963. I
received my bachelor of science degree in 1966, followed by a master’s degree in 1968, and a
doctorate in 1972, all from the University of Pittsburgh in the study of pharmacy. I also received
a law degree from the University of Pittsburgh in 1975.
4. I did a post-graduate hospital residency at the Veterans’ Administration hospital
system in Pittsburgh, Pennsylvania in 1967. I then practiced pharmacy as a staff pharmacist at

the Montefiore Hospital in Pittsburgh, Pennsylvania from 1970 until 1976.
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5. I have also practiced pharmacy as a retail pharmacist with the Thrift Drug
Company in Pittsburgh, Pennsylvania, and the Kerr Drug Company in North Carolina. In
addition, I worked as a part-time retail pharmacist at two independent community pharmacies in
Pittsburgh, Pennsylvania.

6. As an attorney, I served as legal counsel to the Pennsylvania Pharmacists
Association for approximately 25 years.

7. In my capacity as a professor of pharmacy at five schools of pharmacy over the
years, I have taught thousands of students in matters of pharmacy, with an emphasis on the laws
and regulations of practicing pharmacy.

8. In this capacity, I teach students the practical considerations of complying with
the federal statutes and regulations pertaining to the practice of pharmacy. Chief among those
statutes is the Controlled Substance Act, 21 U.S.C. § 801 et seq. (“CSA”), and the regulations
promulgated under the CSA, particularly 21 C.F.R. Part 1300. These matters are central to the
practice of pharmacy when dispensing controlled substances. | am familiar with the rules and
regulations of the practice of pharmacy in Ohio.

9. Based on my training and experience, I am specifically familiar with 21 C.F.R.

§ 1306.04(a), the federal regulation governing the issuance of controlled substance prescriptions,
and 21 C.F.R. § 1306.06, the federal regulation that provides that a “prescription for a controlled
substance may only be filled by a pharmacist, acting in the usual course of his professional
practice and either registered individually or employed in a [DEA] registered pharmacy.”
Materials Reviewed
10. I was asked by the U.S. Department of Justice to review prescription dispensing

records of Shaffer Pharmacy for the time period 2015 into 2020 to evaluate whether the
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pharmacists filling prescriptions for controlled substances at the pharmacy were appropriately
exercising their corresponding responsibility under the Controlled Substances Act and
regulations to ensure the medical legitimacy of the prescriptions dispensed and dispensing
controlled substances in the usual course of professional pharmacy practice.

11. | The request was that I review whether the pharmacists evaluated patient
prescriptions for “red flags”, and if such “red flags” were evident, how did the pharmacists
address these problems.

12. _I was provided with various documents to review including over 3,000
prescription dispensing records obtained from the Shaffer Pharmacy’s pharmacy record
management software system, the ICD-10 diagnoses for the specific patients selected as
examples for this report, numerous updates/newsletters from the Ohio State Board of Pharmacy
many of which contained information for Ohio pharmacists on opioid dispensing, and updates
from the Ohio Automated Rx Reporting System (OARRS) which discussed aspects of
prescribing and dispensing controlled substances in Ohio and risks associated with opioid
therapy.

13. To evaluate the actions of the pharmacists at Shaffer Pharmacy I was provided
Rx30 prescription dispensing data. I reviewed this data using Excel which I sorted by patient so
that the prescriptions could be reviewed as the pharmacists would have received them from the
patients and processed them. In addition, I reviewed and relied on spreadsheets which had
already been sorted when furnished to me. This allowed me to evaluate how the pharmacists
handled various potential prescription issues, including “red flags”, and possible problem
patients.

Practice Standards for Retail Pharmacists
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14.‘ There are certain required steps that an Ohio pharmacist must perform on a
regular basis before filling any controlled substance prescription to ensure that the prescription is
written pursuant to an appropriate physician-patient relationship, is clinically appropriate and
safe to dispense. Some of the things the pharmacist should review are the patient’s age, gender,
current or known medical conditions, drug allergies, the physician’s address and specialty or area
of practice, and the condition being treated to the extent that a diagnosis is provided. A
pharmacist must evaluate the prescription for appropriateness of therapy and identify any
therapeutic duplication, for instance, when more than one drug has been prescribed to treat the
same condition. A prescription must also be reviewed to determine whether it satisfies all the
requirements of a prescription. For instance, the prescription must contain the patient’s name and
address, the date it was issued, and the physician’s name and address. It should indicate the name
of the drug prescribed, the strength, dosage form, quantity prescribed, and directions for use.
When the prescription is for a controlled substance, it must also contain the prescriber’s DEA
registration number.

15. For controlled substances, there are additional steps a pharmacist should perform
to verify the legitimacy of the prescription and to prevent potential abuse and/or diversion. The
pharmacist should also review the quantity of the medication prescribed; appropriate dosage; the
distance of the patient’s home from the physician and/or the pharmacy; trends in the physician’s
prescribing habits for the patient; and the number of prescribers and pharmacies the patient has
used for similar medications. Schedule II controlled substances require even more scrutiny to
ensure legitimacy due to the high risk of abuse and diversion. Oxycodone, morphine,

hydrocodone, and other opioids are known to be commonly diverted and abused drugs in the
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United States. With the rise in abuse, diversion, and drug related overdoes, such verification
steps are more important than ever.

16. 1am familiar with the federal requirement that a pharmacist has a “corresponding
responsibility” to ensure the proper prescribing and dispensing of controlled substances (21
C.F.R. § 1306.04(a)). This is an independent responsibility of the pharmacist to ensure that
prescriptions for controlled substances are legitimate. In other words, just because a licensed
physician prescribed a controlled substance, does not mean that a pharmacist is obligated to fill
that prescription. A reasonably prudent pharmacist in Ohio must be familiar with suspicious
activity or “red flags” indicating that the controlled substances prescribed are at risk for abuse or
diversion. As a pharmacist and a professor of pharmacy, I teach pharmacy students how to detect
“red flags,” as well as trends in pharmacy diversion and processes to resolve and limit any
concerns that a pharmacist should have when presented with questionable prescriptions. Based
on my experience and available public information, opioid diversion in Ohio and throughout the
United States has increased significantly. In recent years, physicians have played a larger role in
the diversion of controlled substances, either intentionally, or by failing to ensure that the
prescriptions they issue are for legitimate medical purposes and issued in the usual course of
professional practice.

17. Asapharmacist and a professor of pharmacy, I have learned to recognize various
“red flags” for abuse and/or diversion in prescriptions for controlled substances, and I teach
students to look for such “red flags.” All competent pharmacists can and should be able to
recognize “red flags” related to prescriptions for controlled substances, and pharmacists are
required to do so in the usual course of pharmacy practice in Ohio and throughout the United

States.
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18. Generally, a “red flag” is anything about a controlled substance prescription that
would cause the pharmacist to be concerned that the prescription was not issued for a legitimate
medical purpose by a registered prescriber in the usual course of professional practice. Some of
the red flags for diversion that all pharmacists should be familiar with include the following:

a. The prescriptions are for high dosage strengths of the drug and/or for large quantities.
Opioids drugs are often referred to based on a Morphine Milligram Equivalent (“MME”)
value to allow comparison of potency or strength based on the relative strength of
morphine across varying opioids like oxycodone, fentanyl, or hydrocodone. The CDC
has indicated that any dose above 90 MME poses a risk of harm to the patient and should
be accompanied by additional care, justification, and documentation. Therefore, any
dose above 90 MME is potentially a “red flag” which the pharmacist should identify and
resolve prior to dispensing opioids at these levels.

b. The duration of controlled substance therapy exceeds ordinary periods required for
appropriate medical therapy.

c. When drugs are part of a prescription “cocktail.” A prescription cocktail is any
combination of drugs which, when taken together, present medical contraindications or
otherwise may pose a risk of adverse health outcome to a patient. A prescription for an
opioid, such as oxycodone, combined with a prescription for a benzodiazepine (anti-
anxiety drug) such as alprazolam (also known by its brand name, Xanax), and possibly a
skeletal muscle relaxant, such as carisoprodol (also known by its brand name, Soma) is a
classic controlled substances cocktail commonly sought by drug abusers because they
produce an intensified “high,” but they can also be particularly deadly. The combination

of an opioid, benzodiazepine, and skeletal muscle relaxant is sometimes referred to as a
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“Trinity” cocktail. The combination of an opioid (depressant) and amphetamine
(stimulant) is an example of generally contraindicated, conflicting, or counteracting
drugs.

d. Early fills or refills of controlled substance prescriptions.

e. Patients who obtain multiple controlled substance prescriptions from multiple prescribers.

f. A prescriber may be a potential “problem prescriber” if she or he continually prescribes
excessive quantities of controlled substances, especially controlled substance cocktails.
When presented with a prescription from a “problem prescriber” a pharmacist should be
on especially high alert for any other “red flags.”

g. Multiple people, all of whom obtained similar prescriptions from the same physician
and/or same clinic, arrive at the pharmacy at approximately the same time to have their
prescriptions filled.

h. Patients are willing to pay large sums of cash (or write checks or use credit cards) for
controlled substances, especially when the patients have insurance coverage available for
the drugs.

i. Two or more controlled substance prescriptions are issued together which indicate
duplicate therapy, for example, when a patient is issued two or more prescriptions known
to treat the same condition in the same manner.

j. The patient’s address is a significant distance from the prescriber’s address and/or the
pharmacy’s address.

19. When confronted with one or more “red flags” concerning a prescription for a
controlled substance, a pharmacist must intervene and resolve the “red flag” to determine

whether or not the prescription is for a legitimate medical purpose before filling the prescription.
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The pharmacist should also document his or her findings for future reference when treating the
patient to assure that other pharmacists treating that patient will have the information available.
The absence of any such documentation is an indication that no intervention was done to resolve
the “red flag(s).”

20. Depending on the type of “red flag,” there are different steps that the pharmacist
can take to determine whether or not the prescription is for a legitimate medical purpose. These
steps involve obtaining more information from the physician, the patient, or both. For example,
in situations where a customer from out-of-town is attempting to fill a controlled substance
prescription, a pharmacist should seek information from the patient as to why he or she is in the
area trying to fill the prescription at this pharmacy.

21. When a pharmacist contacts a physician to address “red flags” raised by the
prescription, the standard practice is for the pharmacist to document that contact and the
information the pharmacist learns. Documentation noting the “red flag” and how the pharmacist
handled it is good professional practice. This ensures that the information is available for other
pharmacy staff in the future. Documentation should be required even in a pharmacy with only
one pharmacist because perfect recall of every encounter with every patient is not realistic.

22. There are some “red flags” that a pharmacist cannot resolve even by contacting
the physician, obtaining a OARRS report, or obtaining more information from the patient, such
as those cases when the pharmacist has reason to believe that the physician is complicit in abuse
or diversion of the controlled substance. Ifa “red flag” is not resolved, the pharmacist should
not fill the controlled substance prescription.

23. A pharmacist may consider the patient’s diagnosis in his or her attempt to resolve

“red flags”, thus the ICD-10 diagnosis/diagnoses for each of the specific patients selected as
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examples for this Report was/were considered, but a pharmacist must always remember that the
diagnosis is determined by the prescriber of the drugs. A pharmacist does not adequately assure
that a prescription is for a legitimate medical purpose merely by contacting the prescriber and
asking the prescriber if the drugs ordered were medically necessary. An affirmative answer from
a prescriber would always be expected, and would not confirm a legitimate medical purpose. The
pharmacist has an independent and corresponding responsibility to assure the legitimacy of the
prescription, and this responsibility is not satisfied by merely consulting with the prescriber.
Opinions Regarding Shaffer Pharmacy

24. As requested, I reviewed thousands of prescription dispensing records covering
the time period 2015 into 2020 for various patients of Shaffer Pharmacy. By the timeframe
addressed in this report, 2015 to 2020, all competent pharmacists should have been well aware of
the opioid abuse crisis in the U.S. This crisis was documented and discussed in pharmacy
professional publications, continuing education programs, the national news media, pharmacy
newsletters, and state board of pharmacy publications. Of specific relevance to this case, I was
able to review multiple Newsletters and Notices from the Ohio State Board of Pharmacy for the
period 2/2015 through 8/2019, and almost every such publication contained some mention or
article on the drug abuse problem, advising pharmacists of their responsibilities and duties
relative to the handling and dispensing of controlled substances.

25. | The examples described below raise obvious “red flags” known to competent
pharmacists and which should have been identified and resolved prior to dispensing the
controlled substances. Ohio law and regulations require pharmacists to conduct a prospective
drug utilization review to examine the appropriateness of prescription drug or controlled

substance therapy prior to filling a prescription. Competent pharmacists should document in the
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patient profile any comments regarding a patient’s drug therapy. Based on my education,
experience and expertise, a number of the prescriptions filled by Shaffer Pharmacy raised
significant “red flags” that the pharmacists did not appear to resolve before providing the drugs
to the patients. If the pharmacists had conducted an appropriate drug utilization review, they
would have identified the “red flags,” and if they appropriately documented a resolution for any
“red flag” it should be contained within the records I reviewed. It is my professional opinion that
the pharmacist/pharmacists at Shaffer Pharmacy should not have filled those prescriptions
without obtaining information that satisfactorily resolved those “red flags” and without
documenting their resolution.

Examples of such conduct are as follows:

26. With regard to patient S. M.-Q., she obtained oxycodone prescriptions from over
20 different prescribers over a period of 3 % years, well into 2019, by which time pharmacists
across the United States were, or should have been, well aware of the drug abuse epidemic and
the “red flags” that might indicate inappropriate drug usage. Not only was the duration of therapy
with opioids excessive, but the dosages were dangerously high. The patient was receiving 630
MME?’s in April of 2016, a level that was so dangerously high that the pharmacists should have
refused to fill such prescriptions without some justification that the prescriptions were for a
legitimate medical purpose. Based upon the materials I have reviewed in this case, I could find
no legitimate medical use for the schedule I-IV controlled substance prescriptions dispensed to
this patient in the timeframe of March, 2016 to November, 2019. Although the pharmacists
entered notes into the patient’s record to be aware of early fills and to accept only hard copy
prescriptions, I could find no indications that the pharmacist/pharmacists intervened or obtained

any legitimate medical justification for such oxycodone doses, and there is no indication that
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they ever consulted the OARRS. They continued to provide the patient with high oxycodone
doses into 2019 when knowledge of the risks of excessive MME’s was well documented. In June
of 2019 the patient was receiving over 700 MME’s; and by November of 2019 the level had
escalated to over 1,000. Further raising doubts about the professional conduct of the pharmacy
staff was the fact that the patient was also receiving prescriptions for a benzodiazepine, a
category of drug often associated with drug abuse when combined with opioids. The patient
continued to receive benzodiazepines plus opioids for over 3 ‘4 years, well into 2019 by which
time competent pharmacists were well aware of “red flags” and the drug abuse issues in the U.S.
The patient had an ICD-10 Code diagnosis of “Hb-SS disease with crisis, unspecified” but it is
my professional opinion that this Code would not justify the extended and excessive narcotic
therapy and other drugs associated with drug abuse, nor could it be used to satisfy the
pharmacists’ independent duty to assure that the drugs were for a legitimate medical purpose.

One final note that should have raised concerns for the pharmacists was that over 80% of all the
prescriptions the patient received from Shaffer Pharmacy were for drugs that were controlled
substances, and over 60% of all the prescriptions were for oxycodone. Based upon the materials I
have reviewed in this case, I could find no legitimate medical use for the schedule II-IV
controlled substance prescriptions dispensed to this patient in the timeframe of April, 2016 to
January, 2020.

27. With regard to patient J.M., she obtained high doses of oxycodone and morphine
from Shaffer Pharmacy for over 3 % years, with such prescriptions continuing into January of
2020. The doses of the opioid drugs were dangerously high resulting in MME’s of 390 to 450 in
2017, 345 to 390 in 2018, 450 to 630 in 2019, and 450 in January of 2020. As further evidence of

failure to abide by acceptable pharmacy practices, the pharmacists regularly provided early fills
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of oxycodone and morphine to the patient. The patient had an ICD-10 Code diagnosis of
“Neoplasm related pain (acute) (chronic)”, but it is my professional opinion that this Code alone
would not justify the extended and excessive narcotic therapy, the concurrent
benzodiazepines/sedatives/anticonvulsants/antidepressants, nor could it be used to satisfy the
pharmacists’ independent duty to assure that the drugs were for a legitimate medical purpose. It
should also be noted that over 50% of all the prescriptions the patient received were for
controlled substances, and that over 1/3 of all the prescriptions the patient received were for
oxycodone or morphine. These dispensing practices continued into 2020, by which time
competent pharmacists in the U.S. were well aware of the drug abuse crisis and the concept of
“red flags.” There is no indication that any pharmacist at Shaffer Pharmacy intervened or
established a legitimate medical need for such excessive doses, and there was nothing in the
pharmacy notes I was provided that indicated that any pharmacist at Shaffer Pharmacy ever
consulted the OARRS. As indicated above, in addition to the long duration of high dose opioids,
the patient also received benzodiazepines, sedatives, anticonvulsants, and anti-depressants
concurrently with the opioids. This combination of drugs was a “red flag” that the
pharmacist/pharmacists seemed to ignore. Such dispensing would indicate either a lack of
knowledge about drug abuse and “red flags” or an indifference to the laws and regulations
governing the dispensing of controlled substances. Based upon the materials I have reviewed in
this case, I could find no legitimate medical use for the schedule II-IV controlled substance
prescriptions dispensed to this patient in the timeframe of April, 2016 to January, 2020.

28. With regard to patient M. J.-P., she received opioid prescriptions for 4 years
without any apparent documentation to establish the legitimate medical need for such long

therapy with drugs that are generally indicated for acute therapy use only. The doses were over
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twice the dangerous daily dose limits, with MME’s of over 200 for over 3 years, and such
therapy was continued into 2020, well after pharmacists across the U.S. should have been aware
of the drug abuse crisis. In addition to the opioids, the patient also was dispensed
benzodiazepines, skeletal muscle relaxants, and sedatives, a modified version of the “Trinity” of
drugs often seen in drug abuse cases. The patient had an ICD-10 Code diagnosis of “Sacroiliitis,
not elsewhere classified”, but it is my professional opinion that this Code would not justify the
extended and excessive narcotic therapy as well as the modified “Trinity” of drugs, nor could it
be used to satisfy the pharmacists’ independent duty to assure that the drugs were for a legitimate
medical purpose. It was also of note that almost 50% of all prescriptions the patient received
were for oxycodone or hydrocodone, both opioids. The pharmacy’s patient history notes I was
provided indicated only one time a pharmacist ever consulted the OARRS during the entire 4
years of opioid therapy. All of these facts indicate that the pharmacists of Shaffer Pharmacy did
not operate in an acceptable professional manner as it related to the dispensing of controlled
substances. Based upon the materials I have reviewed in this case, I could find no legitimate
medical use for the schedule II-IV controlled substance prescriptions dispensed to this patient in
the timeframe of March, 2016 to March, 2020.

29. With regard to patient L.A., she received oxycodone prescriptions for 5 years. As
with the above-cited patients, there is no indication that the Pharmacy staff ever intervened to
determine if there was a legitimate medical need for such long-term opioid therapy. For the
entire 5 years of therapy the patient’s daily MME consumption was 240, almost three times the
accepted dangerous daily dose of 90. In addition to the opioids, the patient was also receiving
from the Pharmacy other drugs often associated with drug abuse when taken with opioids. L.A.

received prescriptions for skeletal muscle relaxants, sedatives, benzodiazepines, and gabapentin,
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a drug cited in the last few years as being abused so often that some states have listed it as a
controlled substance. The patient had an ICD-10 Code diagnosis of “Other cervical disc
degeneration, unspecified cervical region”, but it is my professional opinion that this Code would
not justify the extended and excessive narcotic therapy and the other drugs associated with
abuse, nor could it be used to satisfy the pharmacists’ independent duty to assure that the drugs
were for a legitimate medical purpose. Such dispensing practices by Shaffer Pharmacy indicate
either a lack of recognition of “red flags” or a disregard of the corresponding responsibilities of a
pharmacist relative to the dispensing of controlled substances. Based upon the materials I have
reviewed in this case, I could find no legitimate medical use for the schedule II-IV controlled
substance prescriptions dispensed to this patient in the timeframe of January, 2015 to January,
2020.

30. With regard to patient S.B., this patient received schedule I-IV controlled
substance prescriptions from 17 different prescribers and obtained prescriptions for Schedule I
opioids from 11 different prescribers. This fact alone should have alerted the pharmacists at
Shaffer Pharmacy to a potential “red flag” problem of doctor shopping by the patient, and raised
questions as to the legitimate medical need for the prescriptions. The next “red flag” that the
pharmacists should have recognized was the duration of the opioid therapy, which is generally
indicated only for acute pain, not years of maintenance therapy. This patient received continuous
prescriptions for opioids for almost 4 years, and the doses exceeded medically accepted safe
levels. By the end of 2016 the patient was receiving dosages resulting in 360 MME’s per day,
and the levels rose to 450 in 2017 and 2018. The excessive MME’s continued into 2020 at a
daily level of 225. There is nothing in the Pharmacy’s notes to support the need for the duration

or dose of such opioids, and there is only one indication during this entire course of therapy that
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the pharmacy queried the OARRS. The patient had an ICD-10 Code diagnosis of “Cough
variant asthma”, but it is my professional opinion that this Code would not justify the extended
and excessive narcotic therapy and other drugs associated with drug abuse, nor could it be used
to satisfy the pharmacists’ independent duty to assure that the drugs were for a legitimate
medical purpose. It is also troubling that the dispensing continued into 2020 when the drug
abuse crisis had been well documented and publicized. To make matters worse, during the opioid
therapy the pharmacy also filled prescriptions for benzodiazepines, skeletal muscle relaxants,

and later in the course of therapy, gabapentin, all drugs recognized as potential indicators of drug
abuse when taken together with opioids (the “Trinity”). A final observation on problems with the
pharmacy practice at Shaffer Pharmacy was that the patient often received early fills of schedule
II-IV controlled substance prescriptions during 2016 and continuing into 2020. An occasional
early fill is to be expected, but when it becomes a pattern, a problem is evident. Based upon the
materials I have reviewed in this case, I could find no legitimate medical use for the schedule II-
IV controlled substance prescriptions dispensed to this patient in the timeframe of March, 2016
to January, 2020.

31. With regard to patient M.K., this patient presented a pattern of drug use/abuse
similar to many of the other noted patients. A significant number of the prescriptions for this
patient were written by a practitioner who appears to display a pattern of excessive opioid
prescribing. The pharmacists should have been aware of this type of dubious prescribing, and
have questioned the medical necessity of the opioid prescriptions for this patient. The prescribing
also included orders for benzodiazepines concurrent with the opioid therapy, thereby further
raising concerns for the medical appropriateness of the prescriptions. The duration of therapy

spanning 4 years of opioids plus benzodiazepines was excessive without explanation, and the
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Pharmacy’s notes indicated only one time in the four-year span when someone from Shaffer
Pharmacy consulted with the OARRS. The excessive dose of the opioids was another “red flag”
that should have caused the pharmacist/pharmacists to question the prescriptions. The MME’s
this patient was receiving started at 180, which is twice the dangerous level established by the
CDC. During 2016 through March of 2020 the patient received MME’s of 195 to 390. What is
especially troubling is that the highest MME’s occurred in 2020 when the drug abuse crisis was
well known and publicized. The patient had an ICD-10 Code diagnosis of “Other cervical disc
displacement, mid-cervical region”, but it is my professional opinion that this Code would not
justify the extended and excessive narcotic therapy and benzodiazepines, nor could it be used to
satisfy the pharmacists’ independent duty to assure that the drugs were for a legitimate medical
purpose. A final note on problems with the dispensing history for this patient is the fact that the
patient received periodic early fills of 2 to 4 days of morphine for over 3 years. The inescapable
conclusion is that the pharmacy ignored or disregarded numerous “red flags” for years when
dispensing dangerous drugs to this patient. Based upon the materials I have reviewed in this case,
I could find no legitimate medical use for the schedule II-IV controlled substance prescriptions
dispensed to this patient in the timeframe of March, 2016 to March, 2020.

32. With regard to patient N.W., this patient received some of the highest doses of
opioids of any of the patients I reviewed, and the therapy continued for almost 4 years. The
pharmacy notes are devoid of any explanation for the dangerously high, long-term doses. The
pharmacists only queried the OARRS database one time during the four years of therapy, and
that did not occur until December of 2019. The patient was receiving opioid prescriptions from 4
different prescribers, and almost 70% of all the drugs the patient obtained from the pharmacy

were for Schedule II opioids. The patient had an ICD-10 Code diagnosis of “Other chronic pain”,
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but it is my professional opinion that this Code would not justify the extended and excessive
narcotic therapy, nor could it be used to satisfy the pharmacists’ independent duty to assure that
the drugs were for a legitimate medical purpose. It was also of concern that the patient received
early fills of opioid prescriptions by 1 to 3 days for a period of over 3 years. These were serious
“red flags”, and I could find no indication that the pharmacists addressed or resolved them. To
understand the severity of the dispensing pattern for this patient it is important to remember that
the CDC guidelines indicate that opioid doses above 90 MME’s are considered dangerous.
Patient N.W. was receiving dosages resulting in MME’s over 1,900 and those doses continued
for almost 4 years into 2020, at which time the drug abuse crisis was well known and publicized.
Doses this high are generally reserved for only the most serious acute pain, such as terminal
cancer, but such patients seldom survive for almost 4 years. Doses this high should have been
explained with some type of documentation in the pharmacy notes, and the fact that the OARRS
was consulted in December of 2019 would seem to indicate that the pharmacists finally had
some concerns as to the patient’s drug consumption but continued to fill opioid prescriptions into
February of 2020. Based upon the materials I have reviewed in this case, I could find no
legitimate medical use for the schedule II-IV controlled substance prescriptions dispensed to this
patient in the timeframe of March, 2016 to February, 2020.

33. With regard to patient L.C., she followed the pattern of many of the other patients
of Shaffer Pharmacy by receiving prescriptions for high dose opioids for an extended period of
time, including 2019 and into 2020, when the drug abuse crisis was well known to all competent
pharmacists. During the course of therapy that I examined from 2016 into 2019 the patient
received doses with MME’s of between 350 and almost 900. Even as late as February of 2020

she was receiving MME’s of almost 150. These doses far exceeded the Government’s dangerous
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level of 90. Two other factors with this patient were especially troubling. The first was that
almost 90% of all the prescriptions this patient received during the 4 years of therapy were for
Schedule II opioids. The second was that she was receiving fentanyl lozenges, a powerful opioid
drug approved only for treating breakthrough pain in cancer patients while this patient was
receiving it for apparent maintenance therapy. I could find nothing in the pharmacy notes to
explain this inappropriate therapy or that the pharmacists were even concerned. The notes did not
indicate even one instance when the OARRS database was consulted. The patient had ICD-10
Code diagnoses of “Sacroiliitis, not elsewhere classified” and “Unspecified osteoarthritis,
unspecified site”, but it is my professional opinion that these Codes would not justify the
extended and excessive narcotic therapy, nor could they be used to satisfy the pharmacists’
independent duty to assure that the drugs were for a legitimate medical purpose. This patient’s
drug history appears to demonstrate a lack of knowledge of “red flags” by the pharmacists at
Shaffer Pharmacy or an indifference to a pharmacist’s corresponding responsibility when
dispensing controlled substances. Based upon the materials I have reviewed in this case, I could
find no legitimate medical use for the schedule II-IV controlled substance prescriptions

dispensed to this patient in the timeframe of March, 2016 to February, 2020.

34. With regard to patient C.S., this patient’s drug history demonstrated various “red
flags” that went unnoticed or ignored by the pharmacists at Shaffer Pharmacy. The patient
received long-term opioid therapy for over 3 years at excessive doses without any documented
medical need justification. During the entire therapy there appeared to be only one query of the
OARRS database, and that query did not occur until January of 2020 after over 3 years of
therapy. During 2016 and 2017 the patient was receiving opioid doses resulting in MME’s of 900

to 1,500, well over ten times the “dangerous” dose levels. In 2018 the doses dropped to 140 to
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260, still well above the recommended safe levels, and even in December of 2019 the doses were
at an MME of 150. Other “red flags” were the fact that the patient was concurrently receiving
benzodiazepines during the opioid therapy, a possible indicator of drug abuse; that the patient
received an amphetamine drug, a stimulant, for over a year in 2019 into 2020; and that the
patient regularly received early fills by 1 to 3 days of opioid drugs from mid-2016 to late 2019, a
period of over 3 years. The patient had an ICD-10 Code diagnosis of “Chronic pain syndrome”,
but it is my professional opinion that this Code would not justify the extended and excessive
narcotic therapy and the other drugs often associated with drug abuse , nor could it be used to
satisfy the pharmacists’ independent duty to assure that the drugs were for a legitimate medical
purpose. Finally, these abuses continued into 2020 by which time the drug abuse crisis was, or
should have been, well known by pharmacists. Based upon the materials I have reviewed in this
case, I could find no legitimate medical use for the schedule II-IV controlled substance
prescriptions dispensed to this patient in the timeframe of April, 2016 to March, 2020.

35. With regard to patient K.K., this patient’s therapy exhibited numerous “red flags”
that either went unnoticed or ignored by the pharmacists at Shaffer Pharmacy. She obtained
schedule II-IV controlled substance prescriptions from 21 different prescribers over a period of 4
years. She obtained buprenorphine prescriptions from 5 different prescribers. During the time
frame I evaluated, she obtained an array of controlled substances and other drugs often
associated with drug abuse, including oxycodone, fentanyl, morphine, hydrocodone,
buprenorphine, benzodiazepines, skeletal muscle relaxants, sedatives, stimulants, and
gabapentin. The opioid therapy continued for 4 years, and the other drugs were prescribed
intermittently over that 4-year period. None of these “red flags” seemed to generate any

intervention or investigation by the pharmacists at Shaffer Pharmacy. The patient had an ICD-10
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Code diagnosis of “Opioid dependence”, but it is my professional opinion that this Code would
not justify the extended and excessive narcotic therapy and the other drugs associated with drug
abuse, nor could it be used to satisfy the pharmacists’ independent duty to assure that the drugs
were for a legitimate medical purpose. The pharmacy notes indicate only one query of the
OARRS database, and that query did not occur until April of 2020, after 4 years of therapy.
These problems continued into 2019 and 2020, after competent pharmacists in the U.S. were
well aware of the drug abuse crisis and the need to address “red flags.” Based upon the materials
I have reviewed in this case, I could find no legitimate medical use for the schedule II-IV
controlled substance prescriptions dispensed to this patient in the timeframe of April, 2016 to
April, 2020.

36. | With regard to patient T.S., this patient’s drug history demonstrated various “red
flags” that went unnoticed or ignored by the pharmacists at Shaffer Pharmacy. The patient
received opioid therapy that lasted for over 2 4 years. The therapy provided excessively high
MME’s which were consistently above 330 for the entire 2 2 years of therapy. In addition to the
opioid therapy, the patient also received concurrent benzodiazepines, a drug often associated
with drug abuse when combined with opioid therapy. The patient sometimes received early fills
of her opioids, and it should have been of concern to the pharmacists that approximately 40% of
all the prescriptions the patient received were for oxycodone. These prescriptions raised various
“red flags” which do not appear to have been recognized or addressed by the pharmacists at
Shaffer Pharmacy until October of 2019 when the pharmacy notes show “death in family but
discussed dosage reduction today”. This was also the first date the pharmacists consulted the
OARRS. At this point the therapy had already continued for 2 2 years. The patient had an ICD-

10 Code diagnoses of “Chronic pain syndrome” and “Other intervertebral disc displacement,
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lumbar region”, but it is my professional opinion that these Codes would not justify the extended
and excessive narcotic therapy and the benzodiazepines, nor could they be used to satisfy the
pharmacists’ independent duty to assure that the drugs were for a legitimate medical purpose.
These problems continued into 2019, well after competent pharmacists in the U.S. were well
aware of the drug abuse crisis and the need to address “red flags.” Based upon the materials I
have reviewed in this case, I could find no legitimate medical use for the schedule II-IV
controlled substance prescriptions dispensed to this patient in the timeframe of April, 2017 to
January, 2020.

37. With regard to the patient J.J., this patient’s therapy, as with the other patients
discussed, consisted of long-term excessive dose opioids coupled with prescriptions for
benzodiazepines, skeletal muscle relaxants, and gabapentin, combinations known to be favored
by drug abusers. The opioid therapy continued for 3 years, and the patient continually received
dosages resulting in MME’s between 275 and 375, well above the CDC’s “dangerous” level of
90. The patient had ICD-10 Code diagnoses of “Radiculopathy, lumbar region” and “Spinal
stenosis, site unspecified”, but it is my professional opinion that these Codes would not justify
the extended and excessive narcotic therapy and the other drugs associated with abuse, nor could
they be used to satisfy the pharmacists’ independent duty to assure that the drugs were for a
legitimate medical purpose. It is troubling that the pharmacists at Shaffer Pharmacy only
consulted the OARRS once, that being on 10/23/18, yet continued to dispense questionable
prescriptions through February of 2019. In early February 2019 the patient was still receiving
dosages resulting in MME’s of 285. These problems continued into 2019 after competent
pharmacists in the U.S. were well aware of the drug abuse crisis and the need to address red

flags. Based upon the materials I have reviewed in this case, I could find no legitimate medical
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use for the schedule II-IV controlled substance prescriptions dispensed to this patient in the
timeframe of March, 2016 to March 2019.

38. With regard to patient R.K., her therapy differed from most of the other patients
reviewed as she received predominately buprenorphine, a drug approved for detoxification and
maintenance of opioid drug addiction, for a period of 4 years. Without any explanation in the
Pharmacy’s notes, in May-June of 2016 and in March-April of 2020 she also received
prescriptions for oxycodone and hydrocodone. Such conflicting therapy raised a “red flag” which
the pharmacists apparently did not resolve. The patient had an ICD-10 Code diagnosis of
“Opioid dependence, uncomplicated” which would seem to justify the buprenorphine therapy,
but it is my professional opinion that this Code would not justify the prescriptions for oxycodone
and hydrocodone, nor could it be used to satisfy the pharmacists’ independent duty to assure that
the drugs were for a legitimate medical purpose. Especially troubling was the fact that the
pharmacists did not consult the OARRS until 3/25/2020, after almost 4 years of therapy. Even if
the pharmacists had ignored the patient’s drug profile kept at the pharmacy, they would have
learned of the long-term buprenorphine therapy through the OARRS consult, yet they then
elected to dispense oxycodone on that day and again on 4/1/2020 while continuing to dispense
buprenorphine. An overview of the patient’s prescription history disclosed that 90% of all
prescriptions the patient received from Shaffer Pharmacy were for controlled substances. This
history should have alerted the pharmacists to various “red flags,” yet it appears that the
pharmacists failed to recognize the problems or chose to ignore them. Based upon the materials I
have reviewed in this case, I could find no legitimate medical use for the schedule I-IV
controlled substance prescriptions dispensed to this patient in the timeframe of April, 2016 to

April, 2020.
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39. With regard to patient D.B., his therapy, like many other patients of Shaffer
Pharmacy, consisted of long-term, high-dose opioid therapy without any apparent medical
justification. This treatment continued into 2020, by which time all competent pharmacists in the
U.S. were acutely aware of the drug abuse crisis and the need to identify and address “red flags”
which are indicative of possible drug abuse and invalid prescriptions. The patient was receiving
concurrent fentanyl and hydrocodone prescriptions from March of 2016 until March of 2020, a
period of 4 years, with continuing MME’s exceeding 140. In addition to the opioid prescriptions,
the patient was also receiving prescriptions for benzodiazepines, antidepressants and stimulants.
The patient had an ICD-10 Code diagnosis of “Chronic pain syndrome”, but it is my professional
opinion that this Code would not justify the extended and excessive narcotic therapy and the
other drugs associated with drug abuse, nor could it be used to satisfy the pharmacists’
independent duty to assure that the drugs were for a legitimate medical purpose. Such a
combination of drugs with the duration of therapy should have alerted the pharmacists to
possible or probable drug abuse, yet they continued to dispense these prescriptions for over 3
years. It is troubling that the pharmacists appear to have consulted the OARRS only one time in
the entire 4 years of therapy, and that not occurring until 3/31/2020. The record seems to
establish that the pharmacists either were oblivious to the potential for drug abuse and “red
flags” or that they chose to ignore their professional and legal obligations. Based upon the
materials I have reviewed in this case, I could find no legitimate medical use for the schedule II-
IV controlled substance prescriptions dispensed to this patient in the timeframe of March, 2016
to March, 2020.

40. | With regard to patient E.H., she received prescriptions from 9 different

prescribers resulting in 3 % years of high-dose opioid therapy. Additionally, she also received
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concurrent prescriptions for benzodiazepines and antidepressants. These “red flags” should have
alerted the pharmacists at Shaffer Pharmacy of possible drug abuse and prescriptions that were
not written for a legitimate medical use. It appears that the pharmacists either ignored or did not
recognize the “red flags” created by such long-term, high-dose opioid therapy coupled with other
drugs indicating possible drug abuse, and prescriptions lacking a legitimate medical use. The
doses of the opioids she received resulted in the patient receiving MME’s of over 500 for over 3
2 years. This level far exceeds the CDC’s “dangerous” dose level of 90. The patient had ICD-10
Code diagnoses of “Vitamin D deficiency, unspecified”, “Chronic pain syndrome” and
“Essential (primary) hypertension” but it is my professional opinion that these Codes would not
justify the extended and excessive narcotic therapy and the other drugs associated with abuse,
nor could they be used to satisfy the pharmacists’ independent duty to assure that the drugs were
for a legitimate medical purpose. Further evidence of disregarding the regulations and
professional responsibilities is the fact that the pharmacists often provided early fills of
prescriptions during the entire course of therapy. This type of conduct by the pharmacists
continued throughout 2019, by which time they knew or should have known of the drug abuse
epidemic in the U.S. and the concept of” red flags”. Based upon the materials I have reviewed in
this case, I could find no legitimate medical use for the schedule II-IV controlled substance
prescriptions dispensed to this patient in the timeframe of March, 2016 to December, 2019.

41. | With regard to patient E.C., the pharmacists at Shaffer Pharmacy should have
become concerned with the number of prescribers that the patient was visiting to obtain
prescriptions for controlled substances. During the period of March, 2016 and August, 2019 the
patient obtained schedule II-IV controlled substance prescriptions from 16 different prescribers

with 11 of those prescribers providing Schedule II prescriptions for fentanyl, oxycodone, and
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amphetamine. This prescribing pattern continued for over 3 years with prescriptions being filled
for opioids, amphetamines, antidepressants, sedatives, and anticonvulsants. This “modified
Trinity” of possible drugs being abused raised serious “red flags” that the pharmacists either did
not recognize or seem to have ignored. There is nothing in the pharmacy notes I was able to
review to explain or justify providing the patient with this combination of drugs or to verify a
legitimate medical use for the drugs. The patient had an ICD-10 Code diagnosis of “Chronic
fatigue, unspecified”, but it is my professional opinion that this Code would not justify the
extended and excessive narcotic therapy and the other drugs associated with drug abuse, nor
could it be used to satisfy the pharmacists’ independent duty to assure that the drugs were for a
legitimate medical purpose. The pharmacists apparently only consulted the OARRS one time in
the entire course of therapy, and that was not done until 4/2/2020 after 4 years of therapy. As
with most of the other problem patients, this troubling pattern of dispensing continued into late
2019, by which time all competent pharmacists were aware of the drug abuse crisis in the U.S.
and the need to address “red flags” before filling a prescription. Based upon the materials I have
reviewed in this case, I could find no legitimate medical use for the schedule II-IV controlled
substance prescriptions dispensed to this patient in the timeframe of March, 2016 to August,
2019.

42. With regard to patient D.V., the pharmacists at Shaffer Pharmacy provided the
patient with an unusual and troubling array of controlled substances and other drugs often
associated with drug abuse. This pattern of dispensing continued from at least early 2016 until
late 2019 or early 2020 with 74% of all the prescriptions the patient received being controlled
substances. For the period of March 2016 until March of 2018, 93% of all the prescriptions the

patient received were for Schedule II opioids. Of great concern was the dispensing of
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prescriptions for Subsys, a powerful and very expensive fentanyl product approved only for the
treatment of breakthrough pain in cancer patients. By early 2018 five qui tam lawsuits accusing
the manufacturer of violating the civil False Claims Act had been filed, and the questionable
validity of many Subsys prescriptions was well publicized. In spite of the wide dissemination of
this information in the pharmacy community, Shaffer Pharmacy continued to honor prescriptions
for Subsys for this patient until October or November of 2018. In addition to the questionable
opioid prescriptions, Shaffer Pharmacy also provided the patient with benzodiazepines and
antidepressants, drugs often associated with drug abuse when combined with opioids. As might
be expected with such therapy, the opioid doses the patient received resulted in excessive
MME’s. From March of 2016 through March of 2018 the patient received between 300 and 500
MME’s and even in November of 2019 the patient was receiving 120 MME’s. It should also be
noted that the pharmacy periodically provided buprenorphine without naloxone from late 2018
into early 2020, but also periodically provided oxycodone during this same period. No
explanation was provided for this therapy, thus raising the question of whether the drugs were
being used for a legitimate medical purpose. The patient had an ICD-10 Code diagnosis of
“Chronic pain syndrome”, but it is my professional opinion that this Code would not justify the
extended and excessive narcotic therapy and the other drugs associated with drug abuse, nor
could it be used to satisfy the pharmacists’ independent duty to assure that the drugs were for a
legitimate medical purpose. As with many other patients at Shaffer Pharmacy, these potential
problems continued into 2019 and 2020 at which time all competent pharmacists were well
aware of the drug abuse crisis in the U.S. as well as the need to recognize “red flags” and to

intervene before filling such prescriptions. Based upon the materials I have reviewed in this case,
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I could find no legitimate medical use for the schedule II-IV controlled substance prescriptions
dispensed to this patient in the timeframe of March, 2016 to January, 2020.

43. With regard to patient T.S., I observed the same troubling dispensing patterns
found with most of the patients analyzed in this report. The patient received long-term, high-dose
opioid therapy from April 2016 through March 2020, a period of 4 years, without any indication
of the medical justification for or legitimacy of such prescriptions. The patient received doses of
opioids during the entire 4-year period that resulted in MME’s of 760, a level that is
unreasonably high and dangerous. As with other patients utilizing this pharmacy, T.S. also
received benzodiazepines and antidepressants, drugs that when combined with opioid therapy are
often associated with drug abuse. The patient had ICD-10 Code diagnoses of “Lumbago with
sciatica, right side” and “other chronic pain”, but it is my professional opinion that these Codes
would not justify the extended and excessive narcotic therapy and the other drugs associated with
abuse, nor could it be used to satisfy the pharmacists’ independent duty to assure that the drugs
were for a legitimate medical purpose. This dispensing pattern continued into 2020, well after
all competent pharmacists were aware of the drug abuse crisis in the U.S. as well as the need to
recognize red flags and intervene before filling such prescriptions. Based upon the materials I
have reviewed in this case, I could find no legitimate medical use for the schedule II-IV
controlled substance prescriptions dispensed to this patient in the timeframe of April, 2016 to
March, 2020.

44, With regard to patient J.L., this patient was not receiving excessive long-term
opioid therapy. J.L. did have a modest number of prescriptions for low-dose hydrocodone and
multiple prescriptions for lorazepam, a benzodiazepine, but the therapy did not raise any serious

“red flags” as were noted with the prior 18 patients. The patient had an ICD-10 Code diagnosis
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of “Anxiety disorder, unspecified”, and this was one of the only diagnostic codes that would
appear to justify the drug therapy dispensed. J.L. also received many prescriptions for non-
controlled drugs, a pattern more typical of patients receiving drugs for legitimate medical uses.
45. The final patient profile I reviewed was troubling because of the exceptionally
excessive doses of narcotics dispensed coupled with a myriad of other drugs associated with drug
abuse when taken with opioids, but also the fact that this was a terminal cancer patient. The
patient had an ICD-10 Code diagnosis of “Malignant neoplasm of hypopharynx, unspecified”,
but the duration and excessive doses of narcotics prescribed as well as the other drugs dispensed
would require an in-depth analysis of the patient’s condition to resolve the significant “red flags”
that existed. In 2017 the patient, K.F., was receiving Subsys, a drug reserved for breakthrough
pain in cancer with concurrent oxycodone and fentanyl] patches. This combined narcotic therapy
resulted in MME’s of between 400 and 800 in 2017, and escalated dramatically to between 1,000
and 2,000 in 2018 into 2019. The patient was also receiving skeletal muscle relaxants, anti-
psychotics, anti-depressants, sedatives, and gabapentin, all drugs associated with drug abuse
when taken with opioids. The dosing, strength, duration, and combination of drugs Shaffer
Pharmacy dispensed to K.F. raises significant red flags. Subsys, for example, poses significant
dangers when used in combination with benzodiazepines and other central nervous system
depressants. The patient passed away in 2019 from cancer. Absent the terminal cancer
diagnosis, this dispensing pattern would have raised great concerns as to the legitimacy of the
drug therapy and the conduct of the pharmacists, but since the pharmacists noted in their records
that the patient was a cancer patient, I cannot fault providing the patient with whatever palliative
care was needed to mitigate his pain and suffering. I did find it illuminating that the pharmacists

at Shaffer Pharmacy did note this patient’s diagnosis in their records thereby establishing that
they knew how to document serious medical conditions which might resolve red flags. Had such
conditions existed with the prior patients whose drug therapy I reviewed, I see no reason why the
pharmacists would not have documented the conditions to establish that the red flags had been
recognized and resolved, but such documentation was lacking for each of the other individuals
except one.

46. | Insummary, it is my professional opinion that, based on the prescription
dispending records which I reviewed, Shaffer Pharmacy was not dispensing controlled
substances in accordance with recognized minimum professional standards for the practice of
pharmacy. The pharmacists at Shaffer Pharmacy failed to identify or resolve numerous obvious
“red flags” or they ignored the fact that inappropriate prescriptions were presented to them. The
pharmacists also failed to comply with their independent obligation to ensure the medical
legitimacy of the prescriptions they dispensed as required by their corresponding responsibility.
This pattern of dispensing was common for over 4 years with numerous patients and thousands
of prescriptions, and shows an egregious disregard for the rules of appropriate and legal

pharmacy practice.

Executed on December !8 , 2020.

 

Carl Gainor, Ph.D., J.D.
